
PER CURIAM.
Affirmed. See Applegate v. Barnett Bank of Tallahassee, 377 So.2d 1150 (Fla. 1979) ; Saka v. Saka, 831 So.2d 709, 711 (Fla. 3d DCA 2002) ("As a general rule, reviewing courts will not consider points raised for the first time on appeal.... the appellant must present a record indicating that an adequate and timely objection was interposed in the proceedings below challenging the action sought to be reviewed on appeal."); Smith Original Homes, Inc. v. Carpet King Carpets, Inc., 896 So.2d 844, 847 (Fla. 2d DCA 2005) ("Deliberate and contumacious disregard of the court's authority justifies application of the severe sanction of striking pleadings or entering default for noncompliance with a discovery order, as will bad faith, willful disregard or gross indifference to the court's order, or conduct which evinces deliberate callousness."); Paranzino v. Barnett Bank of South Florida, N.A., 690 So.2d 725 (Fla. 4th DCA 1997).
